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                     UNITED STATES DISTRICT COURT
16         CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
17
     MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
18   a Delaware corporation; and
     CERCACOR LABORATORIES, INC.,                  DEFENDANT APPLE INC.’S
19   a Delaware corporation,                       OBJECTIONS TO SPECIAL
                                                   MASTER ORDER NO. 9
20                      Plaintiffs,
21         v.                                      Date: July 11, 2022
                                                   Time: 1:30 p.m.
22   APPLE INC.,
     a California corporation,
23                                                 Discovery Cut-Off: Aug. 12, 2022
                        Defendant.                 Pre-Trial Conference: Mar. 13, 2023
24                                                 Trial: Mar. 28, 2023
25
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28   DEFENDANT APPLE INC.’S OBJECTIONS TO SPECIAL MASTER ORDER NO. 9
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1    I.    INTRODUCTION
2          In this trade secret case, Plaintiffs claim to have suffered harm to their purported
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4
5                                                      Plaintiffs further contend that Apple’s
6    alleged trade secret misappropriation has caused Plaintiffs to
7
8               Based on those allegations, Plaintiffs apparently intend
9
10         Based on Plaintiffs’ allegations, Apple sought discovery on the design,
11   development, operation, and efforts to market the very products
12                                                                   . Yet despite Plaintiffs’
13   assertions and the extraordinary damages Plaintiffs intend to seek in this case, Plaintiffs
14   have sought to deprive Apple of basic discovery
15
16                                 Notably, in doing so, Plaintiffs have scarcely challenged
17   the relevance of the requests at issue and instead have resorted to vague assertions that
18   the requests are overbroad, without a single factual basis to back up those claims. The
19   Special Master—accepting Plaintiffs’ conclusory assertions—has in turn declined to
20   order the requested discovery, while at the same time ordering Apple to provide nearly
21   identical discovery to Plaintiffs. Apple now appeals certain aspects of the Special
22   Master’s ruling that go to the heart of Plaintiffs’ trade secret and damages claims.
23         Because the requested discovery is undeniably relevant to Plaintiffs’ allegations
24   in this case and neither Plaintiffs nor the Special Master has identified any concrete
25   burden associated with providing it, Apple respectfully requests that the Court order
26   Plaintiffs to provide discovery in response to Apple’s Requests for Production (“RFP”)
27   Nos. 346, 350, 358, 360, 361, 364, 366, 369, 371, and 373-375.
28
      DEFENDANT APPLE INC.’S OBJECTIONS TO SPECIAL MASTER ORDER NO. 8
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1    II.   BACKGROUND
2          A.     Apple’s RFP Nos. 346 And 350: Design, Development, Operation, And
3                 Marketing Of Plaintiffs’ Wrist-Worn And Competitive Products
4          Plaintiffs claim to have
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8                                                                                          In
9    view of these claims, Apple’s RFP Nos. 346 and 350 (as narrowed) seek documents and
10   communications
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17         On March 1, 2022, Apple moved to compel production of documents responsive
18   to RFP Nos. 346 and 350. Ex. 23 (Mar. 1, 2022 Mot.). Apple explained that the
19   requested documents are relevant to the value of the alleged trade secrets and any
20   claimed damages. Id. at 3. Apple further explained that the RFPs are proportional
21   because RFP No. 346 is limited to documents “sufficient to show” and RFP No. 350 is
22   limited to marketing documents. Id. at 3-5. Apple also “narrowed these RFPs to seek
23   discovery only regarding Plaintiffs’ prior or future wrist-worn products and products
24   that Plaintiffs contend compete with or will compete with Apple Watch.” Id. at 1.
25   Plaintiffs’ opposition did not meaningfully contest relevance. Instead, Plaintiffs baldly
26   claimed the RFPs were “exceedingly broad,” yet failed to point to any concrete burden
27   associated with producing responsive documents. Ex. 24 at 3-4 (Mar. 8, 2022 Opp.).
28         On April 18, 2022, the Special Master issued Order No. 8 (Dkt. 656), which
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1    deferred ruling on Apple’s motion and ordered Apple to provide Plaintiffs with “Apple’s
2    proposed narrowed” RFPs. Id. at 3. Apple provided the following narrowed RFPs:
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12         After Apple provided the narrowed RFPs, the Special Master held a hearing. At
13   the hearing, Apple explained that the RFPs seek discovery plainly relevant
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16                                   Apple further explained that
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23                                                     Apple also pointed out that Plaintiffs
24   failed to substantiate any alleged burden associated with producing the documents. Ex.
25   42 at 27:11-28:6, 30:7-14 (Apr. 29, 2022 Hr’g Tr.). Plaintiffs did not challenge
26   relevance; rather, they acknowledged that
27
28         On May 11, 2022, the Special Master issued Order No. 9, denying-in-part Apple’s
     DEFENDANT APPLE INC.’S OBJECTIONS TO SPECIAL MASTER ORDER NO. 9
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1    March 1 motion to compel. As relevant here, without explanation, the Special Master
2    found that
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10            B.    Apple’s RFP Nos. 358, 360, 361, 364, 366, 369, 371, 373, 374, and 375:
11                  Plaintiffs’ “W1” Watch
12            In January 2022, Plaintiffs showcased a new wrist-worn product called the
13   Masimo W1 watch (the “W1”) at an Arab Health event in Dubai.1 Plaintiffs claim to
14   have suffered harm to their purported
15
16
17
18            On February 8, 2022,
19
20                                                                  Specifically, the RFPs seek
21   documents related to (1) the research, design and/or development of the W1 or its
22   components (Nos. 358, 360, 371); (2) the functionality, manufacture, and use of the W1
23   (Nos. 361, 366); (3) the marketing and sale of the W1 and wrist-worn products (Nos.
24   364, 373, 374); (4) FDA communications regarding the W1 (No. 369); and (5) efforts to
25   obtain intellectual property protection (No. 375). Id.
26
27   1
             See    https://www.youtube.com/watch?v=5KvcsFkxBvE                   at      0:57;
28   https://www.youtube.com/watch?v=y1PRT0jRX5c at 0:58).
         DEFENDANT APPLE INC.’S OBJECTIONS TO SPECIAL MASTER ORDER NO. 9
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5                                   Although Plaintiffs eventually agreed to produce responsive
6    documents that postdated the February 23, 2022 close of discovery in the ITC action,
7    they refused to produce responsive documents predating that date, and instead insisted
8    on a cross-use agreement. Ex. 32 at 1 (Mar. 18, 2022 email from D. Satanove).
9             On March 30, 2022, Apple moved to compel production of documents responsive
10   to these RFPs, explaining that
11
12
13              Moreover, because Plaintiffs claimed to have already collected responsive
14   documents for the ITC action, Apple explained that the requests posed minimal, if any,
15   burden to Plaintiffs. Id. at 4.
16
17                                                                            Instead, Plaintiffs
18   asserted that they had produced documents related to the W1 in the ITC action, and that
19   Judge Early’s ruling on the then-pending cross-use use motion would “likely provide
20   additional guidance … and may resolve the parties’ disputes.” Id.
21            During the hearing on Apple’s March 30 motion, Apple explained
22
     2
      On October 19, 2021, Plaintiffs moved to modify the Protective Order to permit
23
     Plaintiffs to use discovery produced in this case in the ITC action. See Dkts. 505, 506.
24   Apple opposed, and Magistrate Judge Early denied the motion in November 2021. See
25   Dkt. 511, 515. Approximately two months later, Plaintiffs filed a second motion to
     modify the Protective Order,
26
27                                    Magistrate Judge Early again denied Plaintiffs’ request
     to allow blanket cross-use of documents on May 9, 2022, mooting Plaintiffs’ primary
28   argument for resisting discovery related to the W1. See Dkt. 710 at 1-2.
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6    the hearing, the Special Master denied Apple’s motion
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12   III.   LEGAL STANDARD
13          Under this Court’s order appointing the Special Master, this Court reviews de
14   novo all objections to findings of fact and conclusions of law. See Dkt. 470 at 4; accord
15   Fed. R. Civ. P. 53(f)(3)-(4). Federal Rule of Civil Procedure 26(b)(1) permits “discovery
16   regarding any nonprivileged matter that is relevant to any party’s claims or defense and
17   proportional[.]” The relevance requirement “has been construed broadly to encompass
18   any matter that bears on, or that reasonably could lead to other matter that could bear on,
19   any issue that is or may be in the case.” Hope Med. Enters., Inc. v. Fagron Compounding
20   Servs., LLC, 2020 WL 2771233, at *2 (C.D. Cal. Mar. 31, 2020). For proportionality, a
21   court may consider “the importance of the issues at stake in the action, the amount in
22   controversy, the parties’ relative access to relevant information, the parties’ resources,
23   the importance of the discovery in resolving the issues, and whether the burden or
24   expense of the proposed discovery outweighs its likely benefit.” Fisher v. Am. Bankers
25   Ins. Co. of Fla., 2021 WL 6536669, at *2 (C.D. Cal. Dec. 17, 2021).
26          Once the party seeking discovery meets its “initial burden” to establish relevance,
27   the “party who resists discovery has the burden to show discovery should not be allowed,
28   and has the burden of clarifying, explaining and supporting its objections.” E.g., Hope
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1    Med. Enters., 2020 WL 2771233, at *2. If the party resisting discovery raises only
2    “general objections, without evidentiary support, such as overbreadth, undue burden,
3    oppressive, vague, compound, etc.,” the objections should be “overruled as
4    unsupported.” O. L. v. City of El Monte, 2020 WL 7264549, at *5 (C.D. Cal. Oct. 30,
5    2020). When “it is not clear that” that the party resisting discovery has been held to its
6    burden, a ruling denying the discovery is “contrary to law.” Intex Recreation Corp. v.
7    Bestway USA Inc., 2021 WL 6618494, at *5 (C.D. Cal. Nov. 10, 2021).
8    IV.      ARGUMENT
9             A.     RFP Nos. 346 and 350 Seek Relevant And Proportional Discovery.
10            During the briefing and hearing before the Special Master, Plaintiffs never
11   meaningfully disputed the relevance of the discovery sought in RFP Nos. 346 and 350.3
12   And for good reason: RFP Nos. 346 and 350 seek documents directly relevant to
13   Plaintiffs’ damages allegations and the value of the alleged trade secrets.
14            RFP No. 346 seeks documents
15
16
17
18
19
20                 To the extent that Plaintiffs contend that
21                                                Apple should receive discovery on the design,
22   features, and functionality of those products, including the extent to which those
23   products actually incorporate the alleged trade secrets or other non-trade secret features.
24
     3
25      Although Plaintiffs stated in passing that Apple’s assertion of relevance was
     “conclusory” and Apple “should have identified specific products,” Plaintiffs made no
26   attempt to rebut relevance in their opposition or at the hearing. See Ex. 24 at 4 (Mar. 8,
27   2022 Opp.). Given Plaintiffs’ failure to address the relevance of RFP Nos. 346 and 350
     before the Special Master,
28
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1    That discovery is relevant to whether Plaintiffs’                  were caused by Apple’s
2    alleged misappropriation and the value (if any) of Plaintiffs’ alleged trade secrets.
3          For example, discovery on all the features of the products may help Apple
4    determine whether the success or failure of the product is attributable to the trade secrets
5    or some other factor (e.g., a new non-trade secret feature that drives success or poor
6    battery life and bulky design that leads to market failure). As this Court previously
7    explained, “Apple may attempt to show that trade secrets-based components had no
8    effect on consumer demand or that applying proper apportionment results in little to no
9    trade secrets-related damages.” Dkt. 638 at 5; see also Attia v. Google LLC, 2018 WL
10   4202151, at *2 (N.D. Cal. Sept. 4, 2018) (defendant in a trade secret case is “certainly
11   entitled to discovery relating to the value or lack of value of the alleged trade secrets”
12   and “the financial benefits (or lack thereof) that plaintiffs obtained from” them).
13         Similarly, RFP No. 350 seeks discovery related to Plaintiffs’
14
15             Those documents are relevant to Plaintiffs’ claim that Apple’s alleged
16   misappropriation has
17
18                      Apple should be permitted discovery into Plaintiffs’ efforts to market
19   products as a part of that alleged                      so that Apple may defend against
20   Plaintiffs’ conclusory (and unsupported) allegations. Moreover, Plaintiffs’ marketing of
21   competing products is directly relevant to Plaintiffs’ lost profits allegations. If Plaintiffs
22   failed to market their purported competing products (or if their marketing focused on
23   non-trade secret functions and features), that would undermine Plaintiffs’ damages
24   claims. See Softel, Inc. v. Dragon Med. & Sci. Commc’ns Ltd., 891 F. Supp. 935, 943
25   (S.D.N.Y. 1995) (rejecting argument that damages should be awarded based on
26   competitive advantage when “plaintiff did not prove that Dragon gained any time
27   advantage over competitors”), vacated and remanded in part on other grounds sub nom.
28   Softel, Inc. v. Dragon Med. & Sci. Commc’ns, Inc., 118 F.3d 955 (2d Cir. 1997); see
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1    also Yoe v. Crescent Sock Co., 2017 WL 11479993, at *4 (E.D. Tenn. Mar. 24, 2017)
2    (discovery on plaintiff’s products was relevant “to whether the alleged trade secret …
3    has been rendered obsolete and deemed to no longer possess any economic value”).
4    Alternatively, Plaintiffs’ own marketing assessments may reveal that Plaintiffs’ products
5    have failed or will fail for reasons entirely unrelated to Apple’s alleged conduct (e.g.,
6    consumers do not like the W1 styling or the product is difficult to use).
7          Although RFP Nos. 346 and 350 seek information that directly bears on Plaintiffs’
8    damages claims, the Special Master
9
10
11                                               But Apple explained in detail the relevance of
12   the requested documents both in its briefing (see Ex. 23 at 3-5 (Mar. 1, 2022 Mot.); Ex.
13   25 at 3 (Mar. 15, 2022 Reply)), and at the hearing before the Special Master (see Ex. 42
14   at 9:4-11:15 (Apr. 29, 2022 Hr’g Tr.)). The Special Master failed to address Apple’s
15   arguments that the requested documents are directly relevant to Plaintiffs’ damages
16   claims, let alone explain how discovery concerning the design, development, operation,
17   and marketing of the very products that form the basis for Plaintiffs’ lost sales allegations
18   could possibly be irrelevant in view of Plaintiffs’ extraordinary damages claims.
19         Because Apple established relevance, the burden should have then shifted to
20   Plaintiffs to prove that the RFPs are not proportional. See supra p. 6-7. While the
21   Special Master determined RFP Nos. 346 and 350 to be “overbroad,” that conclusion
22   was wholly unsupported by the record, much less by any specific finding.
23         First, although the Special Master found the phrase
24
25               the Special Master previously ordered Apple to provide discovery in
26   response to nearly identical requests served by Plaintiffs. See Dkt. 503 at 3 (ordering
27   Apple to provide discovery in response to Plaintiffs’ RFP Nos. 265-273 and 452-465);
28   Ex. 5 at 5 (Pls.’ RFP No. 265) (seeking “[a]ll documents or communications referencing
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1    or relating to the research, design, and/or development” of Apple Watch (emphasis
2    added)); id. at 6 (Pls.’ RFP No. 267) (seeking “[a]ll documents or communications
3    referencing or relating to the function of” Apple Watch (emphasis added)); Ex. 6 at 6
4    (Pls.’ RFP Nos. 460-463) (seeking “[d]ocuments sufficient to identify the algorithm” in
5    Apple Watch (emphasis added)).         Apple’s RFP No. 346—
6
7                                                   —is no more burdensome for Plaintiffs
8    than Plaintiffs’ parallel (and far broader) requests are for Apple. See Madej v. Yale
9    Univ., 2020 WL 6270273, at *11 (D. Conn. Oct. 26, 2020) (“request for documents,
10   limited to documents ‘sufficient to show,’” was “not burdensome”); IQVIA, Inc. v. Veeva
11   Sys., Inc., 2019 WL 3059805, at *8 (D.N.J. July 11, 2019) (“in light of [Defendant’s]
12   assertion that it will accept documents sufficient to show” plaintiff did not meet “burden
13   to demonstrate” production “would be unduly burdensome and disproportionate”),
14   modified on other grounds, 2019 WL 6044885 (D.N.J. Nov. 14, 2019); Siano Mobile
15   Silicon, Inc. v. Mavcom, Inc., 2011 WL 1483706, at *4 (N.D. Cal. Apr. 19, 2011)
16   (ordering production when party resisting production “ha[d] not demonstrated” burden
17   “in producing documents sufficient to show”).4
18         Second, the Special Master’s finding that
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20           As with RFP No. 346, the Special Master previously ordered Apple to provide
21                   discovery to Plaintiffs. See Dkt. 503 at 3 (ordering Apple to provide
22   discovery in response to Plaintiffs’ RFP No. 455); Ex. 6 at 5 (Pls.’ RFP No. 455)
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     DEFENDANT APPLE INC.’S OBJECTIONS TO SPECIAL MASTER ORDER NO. 9
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1    (seeking “[d]ocuments regarding Apples [sic] planned efforts to market” Apple Watch
2    (emphasis added)). That ruling directly contradicts the Special Master’s conclusion—
3    when assessing the breadth of Apple’s RFPs—that RFP No. 350 is overbroad and not
4    proportional to the needs of the case. Moreover, although “unrestrictive use” of terms
5    like “all documents” or “relating to” may give rise to breadth concerns in certain
6    circumstances, “a request will not be objectionable solely because of the use of such [a]
7    term[]” where, as here, it “modif[ies] a sufficiently specific type of information or group
8    of documents” (i.e., marketing efforts for competitive products). See Gold v. Kaplan,
9    2021 WL 6618643, at *6 (C.D. Cal. Dec. 2, 2021); see also A. Farber & Partners, Inc.
10   v. Garber, 234 F.R.D. 186, 188 n.1 (C.D. Cal. 2006) (finding that “bald, boilerplate
11   assertion that [a party’s] document requests are overly burdensome and harassing merely
12   because they seek information ‘relating to’ a subject is without merit”).
13         Third, the Special Master offered no explanation for why the burden of producing
14   documents in response to RFP Nos. 346 and 350 outweighs the likely benefit of
15   production. Indeed, Plaintiffs have never articulated any concrete burden associated
16   with responding to these requests. Nor have Plaintiffs offered any counterproposals that
17   would alleviate any alleged burden (assuming there is any). Plaintiffs’ failure is
18   particularly stark here, given that
19                                                                                     see also
20   Dkt. 503 at 2 (granting discovery into “documents concerning future versions of the
21   Apple Watch” because “such discovery is relevant and proportional in this case
22   involving substantial sums”); Flack v. Nutribullet, L.L.C., 333 F.R.D. 508, 516 (C.D.
23   Cal. 2019) (“Where, as here, the damages sought are substantial, the scope of discovery
24   that may be deemed proportionate … is generally broader[.]”); Nutrition Distrib. LLC v.
25   IronMag Labs, LLC , 2018 WL 6307882, at *2 (C.D. Cal. Oct. 29, 2018) (“[G]iven the
26   substantial damages and injunctive relief sought, the RFPs are proportional[.]”). In view
27   of Plaintiffs’ failure to provide any “evidentiary support” to their “general objection” of
28   undue burden, Plaintiffs failed to meet their burden to resist the relevant discovery
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1    sought in RFP Nos. 346 and 350, and Apple’s objections should be sustained as to those
2    RFPs. See City of El Monte, 2020 WL 7264549, at *5.
3             B.     RFP Nos. 358, 360, 361, 364, 366, 369, 371, And 373-375 Concerning
4                    The W1 Watch Seek Relevant And Proportional Discovery.
5             Having placed the W1 watch directly at issue as a basis for their damages claims
6    (see supra p. 1, 4), Plaintiffs never seriously disputed the relevance of RFP Nos. 358,
7    360, 361, 364, 366, 369, and 371, which each seek discovery related to the W1. See
8    supra p. 4-6.
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14            That is unsurprising, as each of these RFPs is indisputably relevant to Plaintiffs’
15   damages allegations and alleged trade secrets. As explained above, Plaintiffs claim to
16   have
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2                 . See, e.g., ActiveRain Corp. v. Move, Inc., 2008 WL 11337643, at *3 (C.D.
3    Cal. Dec. 16, 2008) (“[E]vidence of changes to plaintiff’s trade secrets could show that
4    the original information is no longer a valuable trade secret[.]”).
5          Similarly,
6             is directly relevant to Plaintiffs’ claim that they suffered harm to their purported
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12                                                         is directly relevant to the extent to
13   which Plaintiffs’ alleged trade secrets remain (or will remain) secret (and thus may no
14   longer qualify as a trade secret). See In re Avaya Inc., 2018 WL 1940381, at *8 (Bankr.
15   S.D.N.Y. Apr. 23, 2018) (“Damages are only appropriate for the period of time during
16   which the trade secret would remain a secret[.]”), aff’d, 602 B.R. 445 (S.D.N.Y. 2019).
17         Plaintiffs have put
18                                             directly at issue.   Apple is thus “entitled to
19   discovery relating to the value or lack of value of the alleged trade secrets and plaintiffs’
20   other allegations of harm, including plaintiffs’ prior unsuccessful efforts to
21   commercialize … and the financial benefits (or lack thereof) … from the alleged trade
22   secrets.” Attia v. Google LLC, 2018 WL 4202151, at *2 (N.D. Cal. Sept. 4, 2018); see
23   also, e.g., Flexiteek Americas, Inc. v. Plasteak, Inc., 2013 WL 12090042, at *6 (S.D.
24   Fla. June 14, 2013) (Given “the damages sought … Defendants are entitled to discover
25   information related to the Plaintiffs’ products and manufacturing capabilities[.]”).
26         Having effectively conceded relevance, Plaintiffs had the burden to establish that
27   the documents should not be produced. Plaintiffs made no attempt to satisfy that burden.
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1    Nonetheless, the Special Master concluded—without explanation or record support—
2    that the requests were “overbroad.” See Ex. 45 at 6-8 (Order No. 9).6 That was error.
3             First, there is no basis in the record for the Special Master’s conclusion that these
4    RFPs are overbroad. Plaintiffs’ opposition never even asserted that the requests are
5    overbroad. See Ex. 40 (Apr. 6, 2022 Opp.).7 And at the hearing, Plaintiffs summarily
6    claimed that
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8                      Such boilerplate objections without evidentiary support are insufficient
9    to sustain Plaintiffs’ burden. See Brill v. Napolitano, 2010 WL 11512400, at *2 (C.D.
10   Cal. May 12, 2010) (“[P]laintiff’s unexplained and unsupported boilerplate objections
11   are improper[.]”). Yet the Special Master nonetheless found—without explanation—
12   that the RFPs were “overbroad.” Ex. 45 at 6-8 (Order No. 9).
13            Second, the Special Master’s conclusory finding that the requests are “overbroad”
14   is further undermined by the fact that
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18                                                                  If true, there is little (if any)
19   burden associated with requiring Plaintiffs to Bates-stamp and produce those documents
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1    in this case. See, e.g., Delquin Plastics USA, Inc. v. Larach, 2017 WL 6888280, at *1
2    (C.D. Cal. Sept. 26, 2017) (ordering production where “Plaintiff has not identified any
3    undue burden or expense” and “documents have already been searched for and
4    collected”); In re Cathode Ray Tube (CRT) Antitrust Litig., 2014 WL 12647879, at *2
5    (N.D. Cal. Nov. 14, 2014) (concluding that “there would not be any significant burden
6    because the responsive documents from” related litigation “have already been collected,
7    reviewed and produced”); M & F Fishing, Inc. v. Certain Underwriters at Lloyds, 2007
8    WL 9706491, at *5 (S.D. Cal. Apr. 13, 2007) (“[T]he burden and expense to SeaPac in
9    producing the documents it already collected and reviewed … would be low[.]”).8
10   Accordingly, Apple’s objections with respect to these RFPs should be sustained.
11   V.       CONCLUSION
12            Apple respectfully requests that the Court sustain Apple’s objections to the
13   Special Master’s Order No. 9 and order the production of documents responsive to RFP
14   Nos. 346, 350, 358, 360, 361, 364, 366, 369, 371, and 373-375 within 14 days.
15
16   Dated: May 25, 2022                      Respectfully submitted,

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       Plaintiffs have not represented that the documents produced in the ITC action are
26   coextensive with the documents sought by Apple in the RFPs at issue in this case.
27   Accordingly, as Apple previously explained to Plaintiffs,

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